     Case 5:21-cv-00616-JWH-SP Document 183-9 Filed 09/07/22 Page 1 of 2 Page ID #:2463
                                                                                                                                               CM-200
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                          FOR COURT USE ONLY




                TELEPHONE NO.:                         FAX NO. (Optional):
     E-MAIL ADDRESS (Optional):
          ATTORNEY FOR (Name):

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF      LOS ANGELES
  STREET ADDRESS:        111 N HILL ST
  MAILING ADDRESS:       111 N HILL ST
 CITY AND ZIP CODE:      LOS ANGELES 90012
     BRANCH NAME:        CENTRAL DISTRICT, STANLEY MOSK COURTHOUSE
      PLAINTIFF/PETITIONER:        ARTUR ELIZAROV
DEFENDANT/RESPONDENT:              BMW FINANCIAL SERVICES NA, LLC
                                                                                                     CASE NUMBER:

                                                                                                                 19STCV08507
                           NOTICE OF SETTLEMENT OF ENTIRE CASE                                       JUDGE:   LIA MARTIN
                                                                                                     DEPT.:   16

                                        NOTICE TO PLAINTIFF OR OTHER PARTY SEEKING RELIEF
   You must file a request for dismissal of the entire case within 45 days after the date of the settlement if the settlement is
   unconditional. You must file a dismissal of the entire case within 45 days after the date specified in item 1b below if the settlement
   is conditional. Unless you file a dismissal within the required time or have shown good cause before the time for dismissal has
   expired why the case should not be dismissed, the court will dismiss the entire case.


To the court, all parties, and any arbitrator or other court-connected ADR neutral involved in this case:
1. This entire case has been settled. The settlement is:
    a.              Unconditional. A request for dismissal will be filed within 45 days after the date of the settlement.
                    Date of settlement: 05/22/2019
    b.              Conditional. The settlement agreement conditions dismissal of this matter on the satisfactory completion of
                    specified terms that are not to be performed within 45 days of the date of the settlement. A request for dismissal will
                    be filed no later than (date):

2. Date initial pleading filed:         03/11/2019
3. Next scheduled hearing or conference:
     a. Purpose:         CASE MANAGEMENT CONFERENCE, OSC RE: PROOF OF SERVICE
     b.            (1)   Date: 07/29/19
                   (2)   Time: 9:00 AM
                   (3)   Department: 16

4. Trial date:
     a.            No trial date set.
     b.            (1) Date:
                   (2) Time:
                   (3) Department:

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
    05/22/19
Date:
ILYA ALEKSEYEFF                                                                            /s/ Ilya Alekseyeff
(TYPE OR PRINT NAME OF             ATTORNEY           PARTY WITHOUT ATTORNEY)                                  (SIGNATURE)



                                                                                                                                                 Page 1 of 2
Form Adopted for Mandatory Use
  Judicial Council of California
                                                 NOTICE OF SETTLEMENT OF ENTIRE CASE                                         Cal. Rules of Court, rule 3.1385
                                                                                                                                       www.courtinfo.ca.gov
 CM-200 [Rev. January 1, 2007]


                                                                                                                    Exhibit C - 1
     Case 5:21-cv-00616-JWH-SP Document 183-9 Filed 09/07/22 Page 2 of 2 Page ID #:2464
                                                                                                                                      CM-200
          PLAINTIFF/PETITIONER:       ARTUR ELIZAROV                                              CASE NUMBER:

                                                                                                                 19STCV08507
 DEFENDANT/RESPONDENT:                BMW FINANCIAL SERVICES NA, LLC
                                            PROOF OF SERVICE BY FIRST-CLASS MAIL
                                                NOTICE OF SETTLEMENT OF ENTIRE CASE

(NOTE: You cannot serve the Notice of Settlement of Entire Case if you are a party in the action. The person who served
the notice must complete this proof of service.)

1. I am at least 18 years old and not a party to this action. I am a resident of or employed in the county where the mailing took
   place, and my residence or business address is (specify):




2.   I served a copy of the Notice of Settlement of Entire Case by enclosing it in a sealed envelope with postage
     fully prepaid and (check one):
     a.        deposited the sealed envelope with the United States Postal Service.
     b.            placed the sealed envelope for collection and processing for mailing, following this business's usual practices,
                   with which I am readily familiar. On the same day correspondence is placed for collection and mailing, it is
                   deposited in the ordinary course of business with the United States Postal Service.

3. The Notice of Settlement of Entire Case was mailed:
     a. on (date):
     b. from (city and state):


4. The envelope was addressed and mailed as follows:
     a. Name of person served:                                      c. Name of person served:

           Street address:                                             Street address:
           City:                                                       City:
           State and zip code:                                         State and zip code:


     b. Name of person served:                                      d. Name of person served:

           Street address:                                             Street address:
           City:                                                       City:
           State and zip code:                                         State and zip code:

             Names and addresses of additional persons served are attached. (You may use form POS-030(P).)
5. Number of pages attached ______.

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

Date:




                       (TYPE OR PRINT NAME OF DECLARANT)                                     (SIGNATURE OF DECLARANT)




                                                                                                                                      Page 2 of 2
CM-200 [Rev. January 1, 2007]
                                                   NOTICE OF SETTLEMENT OF ENTIRE CASE

                                                                                                                  Exhibit C - 2
